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LAW OFFICE OF DANIEL R. OLIVIERI, P.C.
A PROFESSIONAL CORPORATION OF ATTORNEYS AND COUNSELORS AT LAW
487 JERICHO TURNPIKE
SYOSSET, NEW YorRK 11791

DANIEL R. OLIVIERI

TELEPHONE (516) 470-0704

RONNIE GAVARIAN FACSIMILE (516) 931-8101
LEGAL ASSISTANT (NOT FOR SERVICE PURPOSES)
E-MAIL: RGAVARIEN@OLIVIERILAW.COM E-MAIL:

dolivieri@olivierilaw.com

November 3, 2023

Hon. Taryn A. Merkl, USDC Magistrate Judge
United States District Court

Eastern District of New York

225 Cadman Plaza East

Brooklyn, New York 11201

Re: — Singh v. Barneys Service Station
Case No.: 1:23-CV-03881-NRM-TAM

Dear Magistrate Judge Merkl:

The above-named firm represents the Plaintiff in the above referenced matter. It Is
respectfully requested that you grant an extension of time for me to speak with my client and
work out the details to file either a revised proposed settlement agreement or joint status report
discussing the status of necessary revisions and proposed deadlines pursuant to your Order of
November 6, 2023.

I am requesting an extension of time along with Defendant’s counsel to December 15,
2023. I did not see your last Order until after I returned from my trip. Upon my return I learned
that my secretary who had the back surgery requiring her to be hospitalized for four days with IV
antibiotics and has still not been able to return to work (even from home). As a solo practitioner
I have been very pressed to address matters in a timely fashion. Needless to say, | am beyond
swamped especially with Thanksgiving here.

In addition, I need to consult with my client who does not speak English well and I
require a translator who is the referring attorney. Unfortunately, with the holidays here there is
insufficient time to meet with my client along with the attorney and discuss with Defendant’s
counsel modifications to the proposed agreement.

Please be advised I have spoken with Paul J. Felicione, Esq. attorney for Defendants who joins
me in this request to extend our time to
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Thank you for the courtesy extended.

Very truly yours,
Daniel R. Olivieri, Esq.

cc. Paul J. Felicione, Esq.
Attorney for Defendants
